                                                                            DISTRICT OF OREGON
                                                                                 FILED
                                                                                 June 11, 2019
                                                                          Clerk, U.S. Bankruptcy Court



  Below is an order of the court.




                                                           _______________________________________
                                                                     PETER C. McKITTRICK
                                                                     U.S. Bankruptcy Judge




                         UNITED STATES BANKRUPTCY COURT

                             FOR THE DISTRICT OF OREGON



In re                                            )
                                                 )
THREE J’S DISTRIBUTING, INC.,                    )     CASE NO. 18-32288-pcm7
                                                 )
                                      Debtor.    )     STIPULATED ORDER ALLOWING
                                                 )     SECURED CLAIM, AVOIDING LIEN
                                                 )     IN PART, AND ALLOWING
                                                 )     UNSECURED CLAIM

        WHEREAS, on December 10, 2018, Rodolfo A. Camacho, chapter 7 trustee (the

“Trustee”) filed a Complaint to (1) Avoid Fraudulent Transfer; (2) Avoid Preferential Transfer;

and (3) Subordinate Claim of Creditor, thereby commencing adversary proceeding no.

18003123-pcm (the “Adversary Proceeding”). In the Adversary Proceeding the Trustee sought

to avoid the lien of Church on a property of the estate or alternatively subordinate the Church

claim to the level of common stock.

        WHEREAS, on December 5, 2018, Christopher Church and Sheryl Church (together,

“Church”), filed a proof of claim (Claim No. 44-1)(the “Proof of Claim”) in the above-


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PART, AND ALLOWING UNSECURED CLAIM


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captioned bankruptcy case of Three J’s Distributing, Inc. (“Debtor”). In the Proof of Claim,

Church asserted a secured claim in the amount of $857,272.44.

       WHEREAS, on April 9, 2019, the Trustee file a Motion For Leave to Amend the

complaint in the Adversary Proceeding (the “Motion to Amend”), pursuant to which the Trustee

requested that the Court allow him to assert additional claims to recover pre-petition transfers by

the Debtor to Church.

       WHEREAS, on April 18, 2019, the Trustee and Church and their respective attorneys

attended a settlement conference before the Honorable Trish M. Brown and reached settlement;

       WHEREAS, the Parties, wishing to avoid the risks, costs and uncertainties of litigating

the Trustee and Church entered into a settlement and release agreement (the “Settlement

Agreement”), dated April 30, 2019, subject to the approval of the Court;

       WHEREAS, on May 2, 2019, the Trustee filed a Motion and Notice of Intent to Settle

and Compromise Adversary Proceeding [ECF No. 90] (the “Settlement Approval Motion”),

pursuant to which the Trustee requested that the Court approve the settlement of the Adversary

Proceeding which the Court did subject to expiration of the notice period (the “Settlement

Approval Order”);

       WHEREAS, on May 27, 2019, the Settlement Approval Order approving the Settlement

Agreement became final following the expiration of the objection deadline (plus 3 days);

       WHEREAS, the Parties agreed, pursuant to the Settlement Agreement, to cause entry of a

Stipulated Order Allowing Secured Claim, Avoiding Lien in Part, and Allowing Unsecured

Claim, subject to the terms of the Settlement Agreement;



       IT IS ORDERED:


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PART, AND ALLOWING UNSECURED CLAIM


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1. Church is hereby allowed a secured claim in the amount of $210,000.00, secured by the cash

on hand held by the Trustee as of April 18, 2019, which represents the proceeds of accounts,

inventory and equipment of the Debtor (“Allowed Secured Claim”).

2. Trustee shall pay the Allowed Secured Claim in full in cash within 15 days after entry of this

Order.

3.   Any liens of Church on property of the Estate, in addition to, beyond or in excess of the

Allowed Secured Claim, are hereby avoided and such liens are preserved for the benefit of the

Estate.

4. Church is hereby allowed a general unsecured non-priority claim in the amount of

$647,272.44 (“Allowed Unsecured Claim”). Such Allowed Unsecured Claim shall share pari

passu with other general unsecured claims in the Debtor’s Chapter 7 case.

                                              ###


Presented by:

LANE POWELL PC

/s/ David W. Criswell
David W. Criswell, OSB 925930
Attorney for Rodolfo A. Camacho, Chapter 7 Trustee




[signatures on following page]




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PART, AND ALLOWING UNSECURED CLAIM


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IT IS SO STIPULATED:



/s/ David W. Criswell
David W. Criswell, OSB 925930
Lane Powell PC
Attorneys for Rodolfo A. Camacho, Chapter 7 Trustee



 /s/ Jonathan M. Radmacher
Jonathan M. Radmacher OSB 924314
McEwen Gisvold LLP
Attorneys for Christopher Church and Sheryl Church




cc:    Parties to receive ECF notifications




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PART, AND ALLOWING UNSECURED CLAIM


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